    Case: 1:17-cv-04727 Document #: 35 Filed: 11/30/18 Page 1 of 2 PageID #:151



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JOSEPH OKESOLA                                 )
                                               )
              Plaintiff,                       ) Case No. 1:17-cv-04727
                                               )
       vs.                                     ) Judge John Robert Blakely
                                               )
PENNYMAC LOAN SERVICES, LLC, et al.            )
                                               )
              Defendants.                      )

               MOTION TO WITHDRAW AS COUNSEL OF RECORD
               FOR DEFENDANT PENNYMAC LOAN SERVICES, LLC

       Jason A. Julien hereby moves to withdraw as counsel of record for Defendant PennyMac

Loan Services, LLC (“PennyMac”). Locke Lord LLP, by and through its attorney Michael P.

McGivney will continue as counsel for PennyMac.

Dated: November 30, 2018                          Respectfully Submitted

                                                  PENNYMAC LOAN SERVICES, LLC

                                                  By:    /s/ Jason A. Julien
                                                         One of Its Attorneys


Jason A. Julien (6313165)
jason.julien@lockelord.com
Michael P. McGivney (6324324)
michael.mcgivney@lockelord.com
LOCKE LORD LLP
111 South Wacker Drive
Chicago, Illinois 60606
Telephone: 312-443-0202
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                                CERTIFICATE OF SERVICE

        I hereby certify that on November 30, 2018, I electronically filed the foregoing Motion to
Withdraw as Counsel by using the CM/ECF system, which will serve a copy on all electronic
filing participants.



                                                      /s/ Jason A. Julien




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